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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION


 STATE OF TEXAS, et al.,

           Plaintiffs,

      v.                                                 Civil Action No. 6:23-cv-00013

 BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS AND EXPLOSIVES, et al.,

           Defendants.


           DEFENDANTS’ CONSENT MOTION FOR EXTENSION OF TIME
                       TO RESPOND TO COMPLAINT

        Defendants respectfully move for an extension of time to file their response to Plaintiffs’

complaint, ECF No. 1, which is currently due on June 30, 2023, see ECF No. 33. Defendants have

conferred with Plaintiffs, and Plaintiffs consent to the requested relief.

        Plaintiffs filed this lawsuit on February 9, 2023, to challenge a rule promulgated by the Bureau

of Alcohol, Tobacco, Firearms and Explosives (“ATF”), Factoring Criteria for Firearms With Attached

“Stabilizing Braces,” 88 Fed. Reg. 6,478 (Jan. 31, 2023) (“Rule”). A month later, Plaintiffs filed a motion

for a preliminary injunction, seeking to enjoin ATF from enforcing the Rule. See ECF No. 16.

        In March 2023, the district court in Mock v. Garland, No. 4:23-cv-95 (N.D. Tex.), denied the

plaintiffs’ motion to preliminarily enjoin ATF from enforcing the Rule, holding that the plaintiffs had

not demonstrated a “substantial likelihood of success on the merits of any of their claims.” See No.

4:23-cv-95, 2023 WL 2711630, at *1 (N.D. Tex. Mar. 30, 2023). The plaintiffs appealed that order,

and several weeks later moved for an injunction pending appeal in the Fifth Circuit. See Mock v. Garland,

No. 23-10319 (5th Cir. May 17, 2023), ECF No. 25-1. On May 23, 2023, a motions panel of the Fifth

Circuit granted the plaintiffs’ request for an injunction pending appeal in an unpublished order. Id.,

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ECF No. 52-2.

        On May 31, 2023, this Court granted Plaintiffs “a preliminary injunction . . . pending resolution

of the expedited appeal in Mock.” See Order at 7, ECF No. 51. The Court concluded that Plaintiffs

were entitled to the “same relief” that the Fifth Circuit granted the plaintiffs in Mock because, with the

exception of the State of Texas, both groups of plaintiffs challenge the Rule on “similar grounds” and

submitted “substantially similar” motions for preliminary relief. Id. at 2–3. But the Court limited the

preliminary injunction only for the duration of the appeal in Mock, id. at 7, given that the Fifth Circuit’s

“resolution of that appeal will almost certainly affect . . . the Court’s decision on” Plaintiffs’

preliminary-injunction motion, id. at 3.

        Because the Fifth Circuit’s decision in Mock will also likely provide significant guidance for

resolving this case on the merits, Defendants have moved to stay further proceedings in this matter

pending the Fifth Circuit’s resolution of the expedited appeal in Mock. See ECF No. 58. Plaintiffs have

indicated that they intend to oppose Defendants’ stay motion. Defendants therefore respectfully

request that the Court extend the deadline to respond to Plaintiffs’ complaint until after the Court has

resolved Defendants’ stay motion. Specifically, Defendants request that their response deadline be

extended until two weeks after either (i) any stay is lifted, or (ii) the Court denies the stay motion.

        There is good cause to grant this request. If Defendants’ response deadline is not extended,

they will need to prepare a response to Plaintiffs’ complaint before the Court has an opportunity to

decide their stay motion, and thus would be denied a portion of the relief they seek in that motion.

Moreover, Plaintiffs would not be prejudiced by Defendants’ proposed extension because they would

be protected by this Court’s preliminary injunction for the extension’s short duration.

        Defendants appreciate the Court’s consideration and respectfully request entry of their

proposed order.

        Dated: June 27, 2023                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        On June 27, 2023, I electronically submitted the foregoing document with the Clerk of Court

for the U.S. District Court, Southern District of Texas, using the Court’s electronic case filing system.

I hereby certify that I have served all parties electronically or by another manner authorized by Federal

Rule of Civil Procedure 5(b)(2).



                                                        /s/ Jody D. Lowenstein
                                                        JODY D. LOWENSTEIN
                                                        Trial Attorney
                                                        U.S. Department of Justice
